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* ss JUDGE BRODERICK

UNITED STATES DISTRICT COURT
IN THE SOUTHERN DISTRICT OF NEW YORK
CIVIL DIVISION

ose 6 CV 3038

NEELAM UPPAL

Plaintiff
V. r

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NYS DEPARTMENT OF HEALTH, By
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Florida Department of Health, Ce AA cor
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Florida Board of Medicine fe

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Defendant

EMERGENCY COMPLAINT TO@-RE-OPEN-CASE-AND FOR

DECLARATORY AND INJUNCTIVE RELIEF

NOW COMES, Plaintiff, Neelam Uppal, Pro se files an Emergency
Complaint against the disciplinary proceedings against her by the New York
State Department of Health against her, as it would cause her irreparable

harm to ber reputation. business, professional status, integrity, economic ,
Case 1:16-cv-03038-VSB Document1 Filed 04/25/16 Page 2 of 25

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fimancial status, medica! harm to her patients and states in support thereof as

follows:

I. JURISDICTION

Parties:

1. Defendant, New a York State Department of Health is initiating action

in support of FL DOH and Board of Medicine as affiliated agencies.

2. The Plaintiff has dual state jurisdiction as Dr. Uppal had private practice
in Pinellas Park till 2011 and in Clearwater in 2012. Dr. Uppal has been
working in New York in 2013 and 2014 even though her primary residence
is Pinellas Park. Dr. Uppal was working in Bronx, NY, when the DOH
presented their case to ALJ in FL in the absence of the Plaintiff. The
communications between the DOH and the prior hearings were on the
telephone and via emails. The Service of Court Documents were via.ermail to
the Plaintiff in Bronx, NY.

3. The Federal court has equitable jurisdiction to review the lawfulness of
the Board's proceedings prior to the imposition of any disciplinary sanction
against Dr. Uppal. and to impose injunctive relief barring the Board from

proceeding with disciplinary action, because Dr. Uppal would otherwise
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suffer immediate irreparable harm. including but not limited to potential
fevocation or suspension of his license to practice medicine.

This Court has subject matter Jurisdiction over this case under 28 USC,
sec, 1331, as this action arises under the fourth, sixth, thirteenth and
fourteenth Amendments to the United States Constitution and Federal law;
under 28 U.S.C.1343 (a)(3), in that it is brought to redress deprivations,
under color of state law, of rights, privileges and immunities secured by the
United States Constitution

Hi. VENUE

Venue is appropriate under 28 USC sec. 1391(b) because the Plaintiff is
suffering continuing injury by the New York State Department of Health.

2. The attorney of HCA hospital, Carlton Fields, has offices in New York,
3. WellCare operates in New York

NATURE OF ACTION

|, Plaintiff brings this action for declaratory and injunctive relief under 42
U.S.C.sec.1983 for continuing and pervasive actions of the Defendants to
violate the plaintiff's constitutional rights by

- Retaliation for complaints made for Sexual Harassment and Discrimination
- Manipulation of anonymous complaints

- Conflict of interest
Case 1:16-cv-03038-VSB Document1 Filed 04/25/16 Page 4 of 25

-Violation of due process

- Breach of privacy

-Demand of Involuntary Servitude by the agency

Abuse of Power by the NYSDOH in support of Florida Medical Board to
discipline Dr. Uppal for non- payment of Bills for Medical Services and
supplies.(See AAPS v. Texas Medical Board)

2. Plaintiff also brings this action based on discrimination pursuant to title
via of the Civil Rights Act of 1964 as amended and Florida Civil rights Act,
FS. 760 et seq., 42 U.S.C. sec. 2000 (€) et seq: 42u5.¢. sec. 198 1a.
Plaintiff brings this action to correct unlawful practices on the basis of
gender(female), race Indian). national origin (Indian) and Retaliation.
Plaintiff filed a complaint with EEOC about May1, 2008.

IV. STATEMENT OF FACTS

A. INTRODUCTION

I. New a York State Department of Health is putting charges on the Plaintiff
and has scheduled a hearing on May [9,, 2016 to impose charges based on
the recommended order by FL. Administrative Law J udge, that is pending
Appeal in Florida.

2. The NYSDOH was duly notified in writing of the Florida action and that
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it is on Appeal and that EEOC COMPLAINT IS PENDING. See Exhibit |.
3. The NYSDOH IS UNLAWFULLY putting charges of Fraudulant practice
and misconduct as an act of Harassment, Malicious prosecution, tortuous
Interference worth Business and Livelihood.

PRELIMINARY STATEMENT

a}NYSDOH is bring action in violation of 6530( 9)(c)
bJNYSDOH is bringing action in violation of F.$.9.310(H
¢) NYSDOH is bringing an action as an act of continued harassment in

support of FL DOH
d) NYSDOH has filed a false action by deception as the FL order states that

it does not commence until 1 come back and work in FL.

€) NYSDOH has brought action as ‘Slander’ and 'Libel’

PROCEDURAL HISTORY:

1. This action was brought in front of this court but was transferred to
Florida. But Florida continued its unlawful action as there was no injunction.
Now, NY state wants to continue the harassment with unlawful action in
support of Florida's action.

2. The Plaintiff filed Amended EEOC C omplaints of Retaliation, Sexual
harassment and Discrimination in on April 4, 2016 .

Plaintiff was given ' Right
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to Sue’ FL DOH. Board of Medicine, Wellcare, Universal Health care; now
owned by Freedom.

3.Plaintiff filed a

Lawsuit against the HCA hospitals in 2006 For Sexual Harassment and
Discrimination was led by Attorney Carlton Fields, Edward white hospital ,
Palms, Northside. St. Petersburg, Largo Medical Center, which led to
Discrimination. Complaint against Dr.A.K. Desai was filed in the state court
im 2001.The HCA hospitals filed complaints against the Plaintiff to the
Board of Medicineas a act of Retaliation.

HCA affiliated doctors(Dr. Saba of Pinellas Care Clinic and Dr.A.K Desai of
American Family and Gertatrics and Dr. Zachariah of Universal Health
Insurance) and other employees work closely with the Pinellas County DOH
or are on the Board of Medicine.

Complaint for Sexual Harrasment was filed against Dr. A.K. Desai was filed
by the Plaintiff in the Circuit Court Of Pinellas County in 2000.

4, In 2009-2011 The Pinellas County Department of Health filed a formal
Complaint against Dr. Uppal.

In 2012. Prosecutor Elana Jones did not find any grounds to prosecute Dr.
Uppal on all the complaints filed agains her until thenand she dismissed

them. She consolidated all the complaints and filed one amended
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Administrative complaint 12-0666PL. which was then dismissed on Appeal.
see Exhibit 2

5. All the issues subject for discipline now ,were heard in J uly,2012.

6. The DOH filed resurrected dismissed complaints, notwithstanding, that no
new evidence has materialized to substantiate the complaint since the
original investigation concluded .

7.In October 2012 Dr. Uppal fell sick and her Practice was declared to close.

8. On July 7 2014, all the complaints were consolidated into one complaint

2013-0595PL

9. On July 14, & £5 the trial was scheduled. The Plaintiff was not allowed a
chance to

defend herself. Thus, violating her constitutional rights to Due process.

STATEMENT OF FACTS:

Patient AM

1.Anonymous complaint was filed against the plaintiff and her bills were not
Paid By the insurance company or the patient. The patient never filed a
complaint with the DOH against the Plaintiff

2.The insurance company had no authorization by the patient to use her
Medical record and to file a complaint against the Respondent, on the

contrary the patient was treated and f
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Patient PA:

1. The patient never filed a complaint against the Respondent. The patient
filed a Complaint against Dr. Neelum Shah, an employee of Dr. A.K. Desai
of American Familty and Geriatrics And owner and CEO of Universal
Healthcare insurance and past CEO of WellCare Insurance. The Pinellas
County DOH changed the complaint against Dr. Neelam

Uppal anonymously.

Universal Healthcare, WellCare and a First Coast Options did not pay

Plaintiff's bills,

MEDICAL RECORDS:

1. New Administrative Complaints were made on Old Medical records, after
the Practice was closed, on patients whose complaints were already dropped
by the Previous Prosecutors. None of these patients had been seen since the

prior complaints.

MMEMORANDUM OF LAW
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VIOLATIONS OF THE STATE STATUTES:

1. Florida Statute 456.073 (1) for failure to do a preliminary Inquiry

2. Florida Statute 456.073 (2) for failure to have a legally sufficient
complaint prior to beginning an investigation to the extent that the DOH
anumended the complaint on the day of the trial

3. Florida Statute 456.058 by filing a complaint 2 years after the practice
was Closed,

4. Florida Statute 456.003 (4) (a) which states “Neither the department nor
any board may create unreasonably restrictive and extraordinary standards
that deter qualified persons from entering the various professions. Neither
the department nor any board may take any action that tends to create or
maintain an economic condition that unreasonably restricts competition,
except as specifically provided by law.’

5. Florida Statute 456. 003 (4) (b) which states.

‘Neither the department nor any board may create a reguiation that has an
unreasonable effect on job creation or job retention in the state or that places
unreasonable restrictions on the ability of individuals who seek to practice or
who are practicing a profession or occupation to find employment.

6.. Florida Statute 456.073 (9) (c) for failure to inform the Plaintiff of any

probable cause hearing.

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7. Florida statute 456.073 (12) (c} for Bad faith and malicious filing.

8. Florida Statute 837.021 and 837.05 for Perjury.

CIVIL RIGHTS VIOLATIONS:

[. Sixth amendment of the Civil Rights amenmendment of 1964- by Abuse

of Process

2. Title Seven of Civil Rights amendment of 1964, Sexual harrasment and

Discrimination.

3. Eighth amendment of the Civil Rights amendment of 1964 (Jlohnson v.
Transportation Agency, Santa Clara County), and upheld state and local Jaws
prohibiting gender discrimination.,

4. Employment Non-Discrimination Act ( ENDA) of 2009

5. HIPAA violation as patients A.M. and P.A.did not authorize Assurant

Health insurance company or DOH to use their chart to file a complaint on
their Medical Care by Dr. Uppal

6. Not entering an order for Motion for re-consideration and te- hearing.
VIOLATION OF THE CONSTITUTIONAL RIGHTS:

1. The Plaintiffs 13th amendment of the constitutional rights are
violated as the DOH wants detailed medical records on patientswho did not
pay for their sevices and supplies. It takes a lot a Labor and timeto hand-

write detailed extensive records. tt further costs for the overhead and

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maintence of those records. It is not physically and financially feasible for a
doctor in Private practice to do that. Requiring free record creation and
maintenance, without compensation is equivalent to Involuntary Servitude’.
Hence, the Florida Statute created by this agency, is unconstitutional.

2. The Plaintiff's 4th amendment of the constitutional rights are violated as
the DOH produced to ALJ for evidence stolen, fabricated , forged and
tampered medical records. These records were not provided to DOH by the
respondent that were produced into evidence. Thus the evidence used at trial
was obtained by improper means. Further, ALJ, applied the 2008 law
misappro appropriately.

3. The Plaintiffs 2nd amendment of Constitutional Rights were violated by
Denial of due process for Failure to hear her motion for Re-consideration
prior to scheduling Hearing on recommended order. And for the DOH to
follow F.S 456.073 (1) & (2) for not doing a preliminary Inquiry, Investing a
legally insufficient complaint to the extent of amending the complaint to add
new allegations on the day of the trial, which does allow adequate time for
preparation of Defense.

1. Plaintiff, Dr. Uppal, further requests Injunction based on the fact that the
DOH ‘s expert:also in violation of F.S. HB499

10. DOH made no preliminary inquiry for any new allegations as required
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by F.S. 456.073 (1).

11. Also FS. 456.003(4)(a) &(b) state that DOH cannot have rules with
unreasonable restrictions and unreasonable expectations Interfering with job
and business.

12. Prayer For Injunctive Relief Pursuant To 42 U.S.C. $1983 And State
Law To Enjoin NYSDOH From Proceeding With Disciplinary Action
Against D. Uppal Relating To FL DOH action, that is on Appeal is prohibit
id by NY state Education law 6430(9)(c), FS. 9.3 10(f).Because Such
Disciplinary Action Violates Dr. Uppal's Due Process Rights Under The
State and Federal Constitution.

14. Under the State and Federal Constitutions, “*fa] statute can be
impermissibly vague for either of two independent reasons. First, if it fails
to provide people of ordinary intelligence a reasonable opportunity to
understand what conduct it prohibits. Second, if it authorizes or even
encourages arbitrary and discriminatory enforcement.’” State v. Porelle, 149
N.H. 420, 423 (2003) (quoting Hill v. Colorado, 530 U.S. 703. 732 (2000)).

15. 64B8-9.003. (hh), are impermissibly vague as applied to Dr.
Uppal for both of the reasons cited in Porelle.

16. First, both the statutes and the regulation fail to apprise a

person of ordinary intelligence that a mere Opinion of a retired doctor can
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give rise to a statutory or regulatory violation, and for “unconstitutional
involuntary servitude,” leading to possible license suspension or revocation.

17, Second, the statutes and the regulation, if applied to
"Unconstitutional involuntary servitude" do not authorize the DOH and
encourage arbitrary and discriminatory enforcement. The Board has never
adopted any regulations to clarify what would constitute Writing and release
of Records without payment for the services “Unconstitutional”. The AL]
has Recommended Order with vagueness without any substantiation of
Fraud. Without any such regulations defining “unconstitutional involuntary
servitude” the Board has impermissibly broad discretion to
determine—arbitrarily—the Compliance to keep extensive Medical Records.
Moreover, the Board may then arbitrarily and discriminatorily decide to
discipline certain doctors for supposedly “unconstitutional involuntary
servitude,” while refraining from disciplining others, depending on the
“political correctness” quotient of the Board members.

18. F.S.456.50, 456.072(2), 458.33 1(1 (m)(q) &(t) are, therefore,
impermissibly vague as applied to Dr. Uppal’s allegations (a) neither the
statutes nor the regulation apprise a person of ordinary intelligence that a
mere opinion could trigger a violation leading to disciplinary action; and (b)

the statutes and regulation if applied to demand for Medical Records for
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services Not paid for, encourage arbitrary and discriminatory enforcement.
due to the absence of any regulations defining “unconstitutional involuntary
servitude”

19. The Court should therefore find F.S. unconstitutionally vague
as applied to disciplinary action based on Medical records for services not
paid and should enjoin the NYSDOH from proceeding with any further
disciplinary action against Dr. Uppal arising from this ALJ's Recomended
Order
VH. Prayer For Injunctive Relief To Enjoin The NYSDOH From Pursuing
Disciplinary Action Against Dr. Uppal Based On The FL DOH Complaints
and the ALJ's Recomended order Because of The Doctrines Of Collateral
Estoppel And Res Judicata Bar The Board From Relitigating A
Complaint Determined To Be “Unfounded” In 2012.

A. Collateral Estoppel

20. Collateral estoppel “may preclude the relitigation of findings
by an administrative board.” Farm Family Mut. Ins. Co. v. Peck, 143 N.H.
603, 605 (1999). Relitigation of an administrative agency's findings is
barred by collateral estoppel when: (1) the issue subject to estoppel is
identical in each action: (2) the first action resolved the issue finally on the

merits; (3) the party to be estopped appeared in the first action or was in
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privity with someone who did: (4) the party to be estopped had a full and fair
opportunity to litigate the issue: and (5) the finding was essential to the first
judgment. Id.

21. Allelements of collateral estoppel are present here, barring
the Board from relitigating the 2009 and 2011 complaint that was
Voluntarily dismissed by the DOH's Prosecutor and determined to be
“Unfounded” in July of 2012.

22. First, the issue is identical to the issue that the Board of
Medicine now seeks to revive.

23. Second, the 2012 DOH investigation resolved the issue
finally on the merits, finding the complaints to have been “Unfounded.”

24. Third, the party to be estopped (DOH and the Board)
appeared in the first matter, or at a minimum was in privity with an entity
that did. This is true because both the Board of Medicine and the DOH.

25. Fourth, the party to be estopped had a full and fair
opportunity to litigate the issue in 2012. DOH conducted a investigation
following its receipt of the complaint. DOH had a full and unrestricted
opportunity to speak to all witnesses and gather all evidence relative to the
complaint. Indeed, DOH has the exact same evidence now relative to the

complaint as DOH had at the conclusion of its investigation in 2012! DO H
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concluded then that the evidence did not substantiate the complaint, thereby
vindicating Dr. DOH. The Board of Medicine as an DOH-affiliated agency
is therefore collaterally estopped from resuscitating the matter for
relitigation nearly four (2) years later.
26. Finally, the fifth element of collateral estoppel is satisfied
because the DOH finding that insufficient evidence existed to substantiate
the complaint was essential to the July , 2012, amendment and that the
complaints were “Unfounded.”
27. The Board is thus collaterally estopped from pursuing any
disciplinary action against Dr. Uppal relative to the complaints that DOH
already fully investigated and determined to be “Unfounded.”
B. Res Judicata
28. Res judicata also precludes relitigation of the issues of
Computer Crash destroying Medical Reports and other electronic records .
29. “Under res judicata. a final judgment by a court of competent
jurisdiction is conclusive upon the parties in a subsequent litigation
involving the same cause of action.” Cook v. Sullivan, 149 N.H. 774, 777
(2003).

30. Res judicata also applies to a decision of an administrative

agency “which is rendered in a judicial capacity and resolves disputed issues

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properly before it which the parties have had an adequate opportunity to
litigate.” Morin v. J.H. Valliere, 113 N.H. 431, 434 (1973).

31. Importantly, res judicata has preclusive effect upon the
agency under circumstances such as those present here, where: (1) a
complainant makes a report to an administrative agency such as DOH; and
(2) DOH retains control of the enforcement proceeding. Cook, 149 N.H. at
778 (“In situations...where the victim of a statutory wrong complains to the
appropriate agency but is not given control over the enforcement proceeding,
it is the agency rather than the victim to whom the rules of res judicata
apply.”) (citing Restatement (Second) of Judgments $83 cmt. c (1982))
(emphasis supplied).

32. The rules of res judicata as applied to DOH prevent the Board
from relitigating the complaints against Dr. Uppal. First of all, DOH acted
in a judicial capacity in adjudicating the complaints. The agency assigned
an investigator and fact-finder to gather and evaluate all witness testimony in
order to adjudicate the factual issue of whether Dr. Uppal had committed any
violations.made Furthermore, the agency provided Dr. Uppal notice and an
opportunity to rebut the allegations against her in 2009 and 2011,
respectively.

34. In the case AAPS V. TEXAS Medical Board heard in the United
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States District Court, for the Eastern District of Texas, Case no.-A:08-CV-
675-LY, Appealed In the United Staes Court of the Sth District , case
no.:0950953; the Complainant filed the case that the Texas Medical Board
abused their Power by discipline doctors so that the Insurance Companies
don't pay their Services. The Injunction was granted and the Disciplinary
actions were dismissed. Dr. Uppal is in the same situation as this precedent.
A. By impairing the liberty interest in the reputation, the property interest in
medical licensing, and the economic well- being of the Plaintiff. the
Defendants' abuse of anonymous complaints and relying on Perjury violated
the Constitutional rights of the Plaintiff.

B. Hence, the Plaintiff is entitled to an injunction preventing the NYSDOH
from taking any action based on these anonymous and false complaints as it
violates the Confrontation Clause of the Sixth amendment and the Due
Process Clause of the Fourteenth amendment of the U.S. Constitution.

34. Moreover, the NYSDOH pursuit of disciplinary proceedings
against Dr. Uppal, relative to a complaint that the Related agency , FL DOH,
already is being sued under EEOC constitutes bad faith and retaliation,
entitling Dr. Uppal to damages. Costs and attorney fees.

35. Wherefore. the plaintiff Prays for Declaratory and Injunctive Relief To

Compel The NYSDOH To Honor Its Statutory Obligations And Dr. Uppal's
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Due Process Rights and violations of 42 U.S.C. sec.1983.

35. The Court should nonetheless issue orders compelling the
NYSDOH to abide by its statutory obligations, compelling the Board to
honor Dr. Uppal’s due process rights , and vacating all orders issued by the
FL Board of Medicine (or certain members thereof) in violation of statute or

Dr. Uppal’s due process rights.

36. Finally, the Court should order that NYSDOH and Board of
Medicine hearing must disclose their names and addresses of all
complainants. Complainants should not be allowed to besmirch Dr. Uppal’s
good name and professional reputation from behind a veil of anonymity.

WHEREFORE, the petitioner Dr. Uppal respectfully prays this
Honorable Court:

A. Find that the Board’s disciplinary proceedings against
Dr.Uppai violate her rights under the State and Federal Constitutions as no
due process rights are being allowed.

B. Enjoin the NYSDOH from disciplinary proceedings against
Dr. Uppal;

Cc. Find that the NYSDOH disciplinary proceedings against
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Dr.Uppal are barred by the doctrines of collateral estoppel and res judicata;

D. Refrain and Enjoin the NYSDOH from further disciplinary
proceedings against Dr. Uppal with frivolous complaints without any
subtstantiated grounds:

E. Declare the New State education Law 6530(9\(c) allowing
physicians their right to conclusion of appeal in another State, before New
York can take action, in effect and be enforced.

F. Order the NYSDOH to refrain and enjoin from bringing any

charges against the Plaintiff until pending cases are resolved and concluded.

This case is an EMERGENCY as the NYSDOH's Attorney, knowingly
and Intentionally that he is in violation of New York State Education law
6530 (9)(c) , wrote on April 14, 2016 that in 5 days, he will make his False
allegations public to Falsely defame me and interfere with my Business and
livelihood, thus causing irreparable harm.

Wherefore, I pray to this court to protect women from such exploitation and
abuse of authority and grant this Injunctive and Declaratory relief and any

such relief that this court may deem appropriate.

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NEELAM UPPAL, PRO, SE
1370 bye odo
New feak, ie yoo! OSs

PH. - (646)-740-914
£-mail- nneelul23@aol.com

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of the foregoing has been

served by

on 2d day of Avoed . 2016 to:

TO: Tene My J. Neher

NYSDOH

Corning Tower

Empire State Plaza
Albany, New York-12237

23 wepek

NEELAM UPPAL, PRO, SE
P.O BOX 1002.

LARGO, FL-33779

PH. - (727)-403-0022

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IN THE DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
SECOND DISTRICT, POST OFFICE BOX 327, LAKELAND, FL 33802-0327

January 10, 2014

CASE NO.: 2D13-2
L.T. No. : 2006-38711

Neelam Uppal v. Department Of Health
Appellant / Petitioner(s), Appellee / Respondent(s).
BY ORDER OF THE COURT:

In light of the appellee's vacation of the order appealed, this appeal is
dismissed.

NORTHCUTT, CASANUEVA, and KHOUZAM, JJ., Concur.

| HEREBY CERTIFY that the foregoing is a true copy of the original court order.

Served:
Neelam Uppal Therese A, Savona, Esq. Sharmin R. Hibbert, Esq.
Elana J. Jones, Esq. Department Of Health Dept. Of Health Board Of Medicine
pm
Bilt

James Birkhold
Clerk

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NEELAM UPPAL, MD
P.O. Box 1002
Largo, FL-33779

June 19 , 2015

To: Roxanne
OPMC
518-402-0145

RE: Neelam Uppal
OPMc- #5 ~Ol BU e fe
EXPLANTION

T object to your allegation for the following reasons:

1. There was no allegation of ‘Professional misconduct’.

2. The order has been appealed in the second District Court of Appeals,
Florida. Hence,

A). Pursuant to the New York State Education law sec. 6530 para(h) an action
where appeal is pending, is not a reportable.

B). Pursuant to Florida rule 9.310 (f) a Final order cannot be entered on an
administrative action while the issues are pending review of the

the Order by the Appellate Court.

3. This complaint has been made as an act of Malice, Slander and violation of
my Civil Rights by ignoring the law.
4. EEOC charge was made.

5. 1am sending the copy of Notice of Appeal.
6. The Board’s policy requires disposition as ‘on appeal’. The complainant

entered the public report without reporting the appeal and is not grounds for
disciplinary action, but was done as an act of Retaliation, violation of my civil

only and that I diagnosed the patient with ‘multiple skin abscesses with
Community acquired MRSA , a8 wrong diagnosis. He further, testified that I

On the second patient he testified that you do not treat candidiasis with Azoles
and Ambisome and that abnormal Immunoglobulin levels do not constitute

immune- dysfunction .
On the third patient he said that as an Infectious Disease specialist I did not
do the referrals and get reports from all the other specialists as the primary

care even though I was not the primary care
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There were 2 other board certified physicians who testified that I practiced
medicine within the ‘Standard of Care’. All the patients got better. 2 patients
never filed the complaint and fought with the DOH not to use their case
against me. One of them called me and said that they were interfering with
her treatment.

But the ALJ, who was a former prosecutor at same DOH, was biased and
abused her discretion, and said that she believed ( the false, misleading,
deceptive) report of the DOH expert and not the reports of my experts based
on the scientific literature and she ordered that I be suspended and
disciplined. She mocked the efforts of the ABIM and the MKSAP. She said the
credibility was of the physician who took his boards in 1964 and never re-
certified since then.

Wherefore, I would request that this investigation be closed. If you need
further information, please schedule an oral interview with me by calling 727-

403-0022,
Yours sincerely,

AO pe _O |

NEELAM UPPAL, MD
Case 1:16-cv-03038-VSB Document1 Filed 04/25/16 Page 25 of 25

“
Nevo | Department:
OPPORT:
wry | of Health
ANDREW M. CUOKO HOWARD A. ZUCKER, f.D., J.D. SALLY DRESLIN, M.S., R.N.
Governor Commissioner Executive Deputy Commissioner

April 14, 2016

Neelam Uppal, M.D.
P.O. Box 1002
Largo, FL 33779

Via Certified Mail

in the Matter of Neelam Uppal, M.D.
CO-15-01-0460A

NOTICE OF HEARING May 19, 2016

Dear Dr. Uppal:

Enclosed for service upon you is the following Notice of Hearing and Statement of Charges with
a Security Notice of Licensee and Summary of Department of Health Hearing Rules.

As you can see from the Notice of Hearing, your case is scheduled to be heard on May 19, 2016,
at 10:30 a.m, at Riverview Center, 150 Broadway, Suite 510, Menands, NY 12204-2719,

Piease do not hesitate to have your attorney contact me, as | will be the attorney representing the
New York State Department of Health at your hearing.

ly

Timothy J. Mahar

Associate Counsel
NYS Department of Health
Bureau of Professional Medical Conduct
Corning Tower Building - Room 2512
Empire State Plaza
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